Case o-24-Oo0/1-aSt DOC Llo-lée Filed ti/iyv/2z4 entered Llilyi2z4 10lo9706

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Live Database: nyeb_live- https://ecf.nyeb.uscourts,gov/cgi-bin/SearchClaims.p1?187630619...

Eastern District of New York
Claims Register

8-22-72698-ast Blue Diamond Air Systems, Inc, Converted 02/10/2023

Judge: Alan S. Trust Chapter: 7
Office: Central Islip Last Date to file claims: 05/30/2023
Trustee: Marc A. Pergament —_ Last Date to file (Govt): 04/04/2023
Creditor: (10116813) Claim No: 1 Status:
NYS Dept. of Taxation & Finance Original Fited Date: 10/06/2022 Filed by: CR
Bankruptcy/ Special Procedures Original Entered Date: 10/06/2022 Entered by: David M Pugliese
Section Last Amendment Filed: 06/27/2023 Modified:
PO Box 5300 Last Amendment Entered: 06/27/2023

Albany, NY 12205-0300

Amount claimed: $546072.69
Priority claimed: $483836.94

History:

Details @ 4-1 10/06/2022 Claim #1 filed by NYS Dept. of Taxation & Finance, Amount claimed: $362157.89
(Pugliese, David)

Details @ 41-2 12/14/2022 Amended Claim #1 filed by NYS Dept. of Taxation & Finance, Amount claimed:
$518375.03 (Pugliese, David)

Details @ 41-3 02/09/2023 Amended Claim #1 filed by NYS Dept. of Taxation & Finance, Amount claimed:
$543883.28 (Pugliese, David)

‘Details @ 1-4 06/27/2023 Amended Claim #1 filed by NYS Dept. of Taxation & Finance, Amount claimed:
$546072.69 (Pugliese, David)

Description: (1-1) pre petition proof of claim

(1-2) 1st amended pre petition proof of claim
(1-3) 2nd amended pre petition proof of claim
(1-4) 3rd amended pre petition proof of claim

Remarks:

Creditor: (10119149) Claim No: 2 Status:

Santander Consumer USA Inc. d/b/a/ Original Filed Date. 10/13/2022 Filed by: CR

Chrysler Capita Original Entered Date: 10/13/2022 Entered by: Kimberly Lopez
as servicer for CCAP Auto Lease Ltd. Modified:

P.Q, BOX 961275
FORT WORTH, TX 76161

Amount claimed: $24738.00
History:

Details @ 2-1 10/13/2022 Claim #2 filed by Santander Consumer USA Inc. d/b/a/ Chrysler Capita, Amount claimed:
$24738,00 (Lopez, Kimberly)

Description:
Remarks:

Creditor: (10119209) Claim No: 3 Status:

History:
Details @ 3-1 10/12/2022 Claim #3 filed by Uline, Amount claimed: $60.68 (drk)

Deseription:
Remarks:

lof 18 41/18/2024, 3:11 PM
Case o-24-OoU0/1-aSt DOC lo-lé2 Filed ti/iyv/2z4 entered Llilyiz4 10lo97060

Live Database: nyeb_live hitps:/ecf.nyeb.uscourts.gov/cgi-bin/SearchClaims.pl?187630619..,
Uline Original Filed Date: 10/12/2022 Filed by: CR
12575 Uline Drive Original Entered Date: 10/13/2022 Entered by: drk
Pleasant Prairie, WI 53158 Modified:
Amount claimed: $60.68
History:
Detaillg @ 3-1 10/12/2022 Claim #3 filed by Uline, Amount claimed: $60.68 (drk)
Description:
Remarks:
Creditor: (10120475) Claim No: 4 Status:
TOYOTA INDUSTRIES COMMERCIAL Original Filed Date: 10/18/2022 Filed by: CR
FINANCE Original Entered Date: 10/18/2022 Entered by: Scott D Fink
INC. Modified:
c/o Weltman, Weinberg, and Reis Co.,
L.P
965 Keynote Circle

Brooklyn Heights, OH 44731

Amount claimed: $32013.15
Secured claimed: $32013.15

History:

Details @ 4-1 10/18/2022 Claim #4 filed by TOYOTA INDUSTRIES COMMERCIAL FINANCE, Amount claimed:
$32013.15 (Fink, Scott)

Description:

Remarks:

Creditor: (10120751) Claim No: 5 Status:

Green Note Capital Partners, Inc. Original Filed Date: 10/19/2022 Filed by: CR

80 Broad St, Suite 3303 Original Entered Date: 10/19/2022 Entered by: admin
New York, NY 10004 Modified:

Amount claimed: $690511,76
Secured claimed: $690511.76

History:

Details @ 5-1 10/19/2022 Claim #5 filed by Green Note Capital Partners, Inc., Amount claimed: $690511.76

{admin}

Description:
Remarks:
Creditor: (10120987) History Claim No: 6 Status:
Metro Insulation Corp Original Filed Date: 10/20/2022 Filed by: CR
PO Box 576 Original Entered Date: 10/20/2022 Entered by: hrm
Branchville, NJ 07826 Modified:

Amount claimed: $40049.39
History:

Details @ 6-1 10/20/2022 Claim #6 filed by Metro Insulation Corp, Amount claimed: $40049.39 (hrm)
Description:

Remarks:

Creditor: (10121135) Ciaim No: 7 Status:

Independent Sheet Metal Co., Inc. Original Filed Date: 10/20/2022 Filed by: CR

Hoagland Longo Moran Dunst & Doukas Original Enfered Date. 10/20/2022 Entered by: admin
40 Paterson Street Modified:

2 of 18 11/18/2024, 3:11 PM
Case o-24-Oo0/i-ast VOC do-14 Filed ilfig/2e4 Entered Lifjlaje4 LO1og9:50
Live Database: nyeb_live https://ecf.nyeb.uscourts.gov/cgi- bin/SearchClaims. pl?187630619...
P.O, Box 480

New Brunswick, NJ 08901
Amount claimed: $241662.92

History:

Details @ 7-1 10/20/2022 Claim #7 filed by Independent Sheet Metal Co., Inc., Amount claimed: $241662.92
(admin)

Description:

Remarks:

Creditor: (10125499) Claim No: 8 Status:

NEW YORK STATE DEPARTMENT OF Original Filed Date: 11/02/2022 Filed by: CR

LABOR Original Entered Date: 11/02/2022 Entered by: admin

STATE CAMPUS BLDG 12 RM 256 Last Amendment Filed: 01/08/2024 Modified: 01/08/2024

ALBANY, NY 12240 Last Amendment Entered: 01/08/2024

Amount claimed: $97616.57
Priority claimed: $97616.57

History:
Details @ 8-1 11/02/2022 Claim #8 filed by NEW YORK STATE DEPARTMENT OF LABOR, Amount claimed:
$78761.00 (admin)

Details @ 8-2 11/47/2022 Amended Claim #8 filed by NEVWV YORK STATE DEPARTMENT OF LABOR, Amount
claimed: $85670.71 (admin)

Details @ 8-3 02/17/2023 Amended Claim #8 filed by NEW YORK STATE DEPARTMENT OF LABOR, Amount
claimed: $94611.37 (admin)

Details @ 8-4 01/08/2024 Amended Claim #8 filed by NEW YORK STATE DEPARTMENT OF LABOR, Amount
claimed: $97616.57 (admin)

Description:
Remarks: (8-1) Account Number (last 4 digits):0784
(8-2) Account Number (last 4 digits):0784

(8-3) Account Number (last 4 digits):0784
(8-4) Account Number {last 4 digits):0784

Creditor: (10116810) Claim No: 9 Status:
Internal Revenue Service Original Filed Date: 11/04/2022 Filed by: CR
Centralized Insolvency Operations Original Entered Date: 11/04/2022 Entered by: Lynn R Sexton
PO Box 7346 Last Amendment Filed: 05/25/2023 Modified:
Philadelphia, PA 19101-7346 Last Amendment Entered: 05/25/2023
Amount claimed: $2445212.34
Secured claimed: $0.00
Priority claimed: $2159148.50
History:
Details @ 9-1 11/04/2022 Claim #9 filed by Internal Revenue Service, Amount claimed: $2228051 .22 (Sexton,

Lynn)

Details @ 9-2 12/19/2022 Amended Claim #9 filed by Internal Revenue Service, Amount claimed: $2813699.00
(Sexton, Lynn)

Details @ 9-3 05/25/2023 Amended Claim #9 filed by Internal Revenue Service, Amount claimed: $2445212.34
(Sexton, Lynn)

Description:

Remarks:

Creditor: (10128122) Claim No: 10 Status:

Euler Hermes N. A. Insurance Co. as Original Filed Date: 11/10/2022 Filed by: CR
Agent for HOWE Original Entered Date: 11/10/2022 Entered by: admin

3 of 18 11/18/2024, 3:11 PM
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Live Database: nyeb_live https://ecf.nyeb uscourts.gov/cgi-bin/SearchClaims.p!? 187630619...

800 Red Brook Bivd, #400C Modified:
Owings Mills, MD 21117

Amount claimed: $15808.33
History:

Retails @ 10-1 11/10/2022 Claim #10 filed by Euler Hermes N. A. Insurance Co. as Agent for HOWE, Amount
claimed: $15808.33 (admin)

Description:
Remarks: (10-1) Account Number (last 4 digits):4253

Creditor: (10128372) Claim No: 11 Status:

PSEG LI Original Filed Date: 11/11/2022 Filed by: CR

15 Park Drive Original Entered Date: 11/11/2022 Entered by: admin
Special Collections Modified:

Melville, NY 11747
Amount claimed: $31967.94

History:

Details @ 11-1 11/11/2022 Claim #11 filed by PSEG LI, Amount claimed: $31967.94 (admin)
Description:

Remarks:

Creditor: (10131372) Claim No: 12 Status:

LG Funding LLC Original Filed Date: 11/21/2022 Filed by: CR
Gene Rosen's Law Firm - A Professional Original Entered Date: 11/21/2022 Entered by: admin
Corpor Modified:

200 Garden City Plaza, Suite 405
Garden City, NY 11530

Amount claimed: $666368.75
Secured claimed: $666368.75

History:

Details @ 42-1 11/21/2022 Claim #12 filed by LG Funding LLC, Amount claimed: $666368.75 (admin)
Description:

Remarks:

Creditor: (10121102) Claim No: 13 Status:

Sound Refrigeration & Air Conditioning, Original Filed Date: 11/28/2022 Filed by: CR

Inc. Original Entered Date: 11/28/2022 Entered by: Matthew V Spero
c/o Rivkin Radler LLP Modified:

926 RXR Plaza
Uniondale, NY 11556

No amounts claimed
History:

Matthew}

Description: (13-1) Contingent and unliquidated. See attached Rider.
Remarks: (13-1) Amounts, if any, due and owing under the Contracts with respect to the Projects.

Creditor: (10133418) Claim No: 14 Status:

Southerntier Custom Fabricators, Inc. Original Filed Date: 11/29/2022 Filed by: CR

cio Bond, Schoeneck & King, PLLC Original Entered Date: 11/29/2022 Entered by: Sara C. Temes
Attn: Sara C. Temes, Esq. Modified:

One Lincoln Center

4 of 18 11/18/2024, 3:11 PM
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Live Database: nyeb_live

https://ecf.nyeb.uscourts. gov/cgi-bin/SearchClaims.p!?1876306 19...

Syracuse, NY 13202
Amount claimed: $347502.87

History:

Details @ 14-1 11/29/2022 Claim #14 filed by Southerntier Custom Fabricators, Inc., Amount claimed: $347502.87
(Temes, Sara)

Description:

Remarks:

Creditor: (10134224) Claim No: 15 Status:

Ally Bank c/o AIS Portfolio Services, Original Filed Date: 11/30/2022 Filed by: CR

LLC Original Entered Date: 11/30/2022 Entered by: Marian Garza

4515 N. Santa Fe Ave. Dept. APS Last Amendment Filed: 07/26/2024 Modified:

Oklahoma City, OK 73118
Amount claimed: $8681.13

Last Amendment Entered: 07/26/2024

History:
Details @ 15-1 11/80/2022 Claim #15 filed by Ally Bank c/o AIS Portfolio Services, LLC, Amount claimed: $24154.18

(Weich, Zann)

Details @ 15-2 07/26/2024 Amended Claim #15 filed by Ally Bank c/o AIS Portfolio Services, LLC, Amount claimed:
$8681.13 (Garza, Marian)

Description:

Remarks.

Creditor: (10134224) Claim No; 16 Status:

Ally Bank c/o AIS Portfolio Services, LLC Original Filed Date: 11/30/2022 Filed by: CR

4515 N. Santa Fe Ave. Dept. APS Original Entered Date: 11/30/2022 Entered by: Zann R Welch
Oklahoma City, OK 73118 Modified:

Amount claimed: $24313.88
Secured claimed: $24313.88

History:

Details @ 16-1 11/80/2022 Claim #16 filed by Ally Bank c/o AIS Portfolio Services, LLC, Amount claimed: $24313.88
(Welch, Zann)

Description:

Remarks:

Creditor: (10134389) Claim No: 17 Status:
Sheet Metal Workers Local Union No. Original Filed Dafe: 12/01/2022 Filed by: CR

28 Funds and P
c/o 100 Crossways Park Drive West
Suite 200, Woodbury NY 11979

Original Entered Date: 12/01/2022
Last Amendment Filed: 05/30/2023
Last Amendment Entered: 05/30/2023

Entered by: Thomas P Keane
Modified:

Amount claimed: $464910.38
Priority claimed: $236331.26

History:
Details @ 17-1 12/01/2022 Claim #17 filed by Sheet Metal Workers Local Union No. 28 Funds and P, Amount
claimed: $830361.36 (Keane, Thomas)

Details @ 17-2 05/30/2023 Amended Claim #17 filed by Sheet Metal Workers Local Union No. 28 Funds and P,
Amount claimed: $464910.38 (Keane, Thomas)

Description: (17-1) Fringe benefit contributions and interest
Remarks:

Creditor: (10134513) Claim No: 18 Status:

5 of 18 11/18/2024, 3:11 PM
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Live Database: nyeb_live https://ecf.nyeb.uscourts.gov/cgi-bin/SearchClaims.p!? 187630619...
The Travelers Indemnity Company and Original Filed Date: 12/01/2022 Filed by: CR
those certain Original Entered Date: 12/01/2022 = Entered by: alh
One Tower Square GCM10 Modified: 12/01/2022
Hartford CT 06183
No amounts claimed
History:
Details @ 18-1 12/01/2022 Claim #18 filed by The Travelers Indemnity Company and those certain, Amount claimed:

falh)
Description: (18-1) Commercial Insurance
Remarks: (18-1) Unliquidated “Please see attached

Creditor: (10134545) Claim No: 19 Status:

The Travelers Indemnity Company and = Original Filed Date: 12/01/2022 Filed by: CR
those certain Original Entered Date: 12/01/2022 Entered by: alh
Travelers Modified:

Account Resolution - Chante! Pinnock
One Tower Square, GCM10
Hartford, CT 06183

No amounts claimed

History:

Details @ 19-1 12/01/2022 Claim #19 filed by The Travelers Indemnity Company and those certain, Amount claimed:
(alh)

Description: (19-1) Insurance Coverage from 10/4/2022 to 11/01/2022

Remarks: (19-1) Unliquidated **Please see attached

Creditor: (10134672) Claim No: 20 Status:

Cellco Partnership d/b/a Verizon Original Filed Date: 12/02/2022 Filed by: CR
Wireless Original Entered Date: 12/02/2022 Entered by: admin
William M Vermette Modified:

22001 Loudoun County PKWY
Ashburn, VA 20147

Amount claimed: $8542.23

History:

Details @ 20-1 12/02/2022 Claim #20 filed by Cellco Partnership d/b/a Verizon Wireless, Amount claimed: $8542.23
(admin)

Description:

Remarks: (20-1) Account Number (last 4 digits):3906

Creditor: (10134746) Claim No: 21 Status:

U.S. Bank NA dba Elan Financial Original Filed Date: 12/02/2022 Filed by: CR

Services Original Entered Date: 12/02/2022 Entered by: Amanda Thomas
Bankruptcy Department Moditied:

PO Box 108

Saint Louis MO 63166-0108
Amount claimed: $17117.65
History:

Details @ 21-1 12/02/2022 Claim #27 filed by U.S. Bank NA dba Elan Financial Services, Amount claimed:
$17117.65 (Thomas, Amanda)

Description: (21-1) Credit Card 4038
Remarks:

Creditor: (10134740) Claim No: 22 Status:

6 of 18 11/18/2024, 3:11 PM
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Live Database: nyeb_live

https://ecf.nyeb.uscourts.gov/cgi-bin/SearchClaims.p1?187630619...

Airside Fabricators, Inc. Original Filed Date: 12/02/2022 Filed by: CR
cio K&L Gates LLP Original Entered Date: 12/02/2022 Entered by: Daniel M Eliades
Attn.: Daniel M. Eliades, Esq. Modified:
One Newark Center, 10th Floor
Newark, NJ 07102
Amount claimed: $63228.63
History:
Details @ 22-1 12/02/2022 Claim #22 filed by Airside Fabricators, Inc., Amount claimed: $63228.63 (Eliades, Daniel)
Description:
Remarks:
Creditor: (10124888) Claim No: 23 Status:
Admore Air Conditioning Corp. Original Filed Date: 12/02/2022 Filed by: AT
835 McLean Avenue Original Entered Date: 12/02/2022 Entered by: James M Felix
Yonkers, NY 10704 Last Amendment Filed: 05/25/2023 Modified:

Last Amendment Entered: 05/25/2023
Amount claimed: $698037.00

History:
Details @ 23-1 12/02/2022 Claim #23 filed by Admore Air Conditioning Corp., Amount claimed: (Felix, James)

$698037.00 (Felix, James)

Description: (23-1) Unliquidated damages, see Rider with Exhibits
(23-2) Amended Proof of Claim

Remarks:
Creditor: (10134910) Claim No: 24 Status:
Sheet Metal Workers’ National Pension Original Filed Date: 12/02/2022 Filed by: CR

Fund
3180 Fairview Park Dr., Suite 400
Falls Church, VA 22042
Amount claimed: $1095535.79
Priority claimed: $992825.22

Original Entered Date: 12/02/2022
Last Amendment Filed: 05/30/2023
Last Amendment Entered: 05/30/2023

Entered by: admin
Modified: 05/30/2023

History:
Details @ 24-1 12/02/2022 Claim #24 filed by Sheet Metal Workers’ National Pension Fund, Amount claimed:
$780318.07 (admin)

Details @ 24-2 05/30/2023 Amended Claim #24 filed by Sheet Metal Workers' National Pension Fund, Amount
claimed: $1095535.79 (admin)

Description:

Remarks: (24-1) Account Number (last 4 digits):0755
(24-2) Account Number (last 4 digits):0755

Creditor: (10120237) Claim No: 25 Status;

First Indemnity of America Insurance Original Filed Date: 12/02/2022 Filed by: CR

Company Original Entered Date: 12/02/2022 Entered by: Paul A Alongi

2740 Rt, 10 West, Suite205 Last Amendment Fifed: 03/17/2023 Modified:

History:

Details @ 25-1 12/02/2022 Claim #25 filed by First Indemnity of America Insurance Company, Amount claimed:

$811311.56 (Alongi, Paul)

Details @ 25-2 03/17/2023 Amended Claim #25 filed by First Indemnity of America Insurance Company, Amount
claimed: $817503.26 (Alongi, Paul)

Description:
Remarks:

FoF 18 11/18/2024, 3:11 PM
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Live Database: nyeb_live https://eef.nyeb.uscourts.gov/cgi-bin/SearchClaims.p1?7 187630619...

Morris Plains, NJ 07950 Last Amendment Entered: 03/17/2023

Amount claimed: $817503.26
Secured claimed: $790000.00
Priority claimed: $790000.00

History:
Details @ 25-1 12/02/2022 Claim #25 filed by First Indemnity of America Insurance Company, Amouni claimed:
$811311.56 (Alongi, Paul)

Details @ 25-2 03/17/2023 Amended Claim #25 filed by First Indemnity of America Insurance Company, Amount
claimed: $817503.26 (Alongi, Paul)

Description:

Remarks:

Creditor: (10134910) Claim No: 26 Status:

Sheet Metal Workers’ National Pension Original Filed Date: 12/02/2022 Filed by: CR

Fund Original Entered Date: 12/02/2022 Entered by: admin
3180 Fairview Park Dr., Suite 400 Last Amendment Filed: 05/30/2023 Modified: 05/30/2023
Falls Church, VA 22042 Last Amendment Entered: 05/30/2023

Amount claimed: $18285.07

History:
Details @ 26-1 12/02/2022 Claim #26 filed by Sheet Metal Workers’ National Pension Fund, Amount claimed: $0.00
(admin)

Details @ 26-2 05/30/2023 Amended Claim #26 filed by Sheet Metal Workers’ National Pension Fund, Amount
claimed: $18285.07 (admin)

Description:
Remarks: (26-1) Account Number (last 4 digits):0755 Filer Comment: A payroll compliance review on claimant's behalf is

currently ongoing and the amounts due are unknown.
(26-2) Account Number (last 4 digits):0755

Creditor: (10134910) Claim No: 27 Status:

Sheet Metal Workers’ National Pension Original Filed Date: 12/02/2022 Filed by: CR

Fund Original Entered Date: 12/02/2022 Entered by: admin
3180 Fairview Park Dr., Suite 400 Last Amendment Filed: 05/30/2023 Modified: 05/30/2023
Falls Church, VA 22042 Last Amendment Entered: 05/30/2023

Amount claimed: $19087733.76

History:
Details @ 27-1 12/02/2022 Claim #27 filed by Sheet Metal Workers’ National Pension Fund, Amount claimed:
$19086231.34 (admin}

Details @ 27-2 05/30/2023 Amended Claim #27 filed by Sheet Metal Workers’ National Pension Fund, Amount
claimed: $19087733.76 (admin)

Description:

Remarks; (27-1) Account Number (last 4 digits):0755
(27-2) Account Number (last 4 digits):0755

Creditor: (10134919) Claim No: 28 Status:

Dierks Heating Company, Inc. Original Filed Date: 12/02/2022 Filed by: CR

cia Leech Tishman Robinson Brog, Original Entered Date: 12/02/2022 Entered by: admin

PLLC Modified:

875 Third Avenue, 9th Floor

History:

Details @ 28-1 12/02/2022 Claim #28 filed by Dierks Heating Company, Inc., Amount claimed: $50980.32 (admin)
Description:

Remarks:

8 of 18 11/18/2024, 3:11 PM
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Live Database: nyeb_live https://ecf.nyeb.uscourts.gov/cgi-bin/SearchClaims.p1?187630619...

New York, NY 10022
Amount claimed: $50980.32

History:
Details @ 28-4 12/02/2022 Claim #28 filed by Dierks Heating Company, Inc., Amount claimed: $50980,32 (admin)
Description:
Remarks:
Creditor: (10135297) Claim No: 29 Status:
Starr Indemnity & Liability Company Original Filed Date: 12/05/2022 Filed by: CR
399 Park Avenue, 3rd Floor Original Entered Date: 12/05/2022 Entered by: admin
New York, NY 10022 Modified:
Amount claimed: $30000.00
History:
Details @ 29-1 12/05/2022 Claim #29 filed by Starr Indemnity & Liability Company, Amount claimed: $30000.00
(admin)
Description:
Remarks:
Creditor: (10135389) Claim No: 30 Status:
TOMCO Mechanical Corp. Original Fited Date: 12/05/2022 Filed by: CR
c/o Togut, Segal & Segal LLP Original Entered Date: 12/05/2022 Entered by: admin
One Penn Plaza, Suite 3335 Modified:
New York, NY 10119
lo amounts claimed
History:
Details @ 30-1 12/05/2022 Claim #30 filed by TOMCO Mechanical Corp., Amount claimed: (admin)
Description:

Remarks: (30-1) Filer Comment: See Attached Addendum

Creditor: (10135467) Claim No: 31 Status:

Dime Community Bank Original Filed Date. 12/05/2022 Filed by: CR

clo Windels Marx et al. Original Entered Date: 12/05/2022 Entered by: James M Sullivan
Atlin: Robert J. Malatak Modified:

156 W. 56th St
New York, NY 10019

Amount claimed: $9565821 32

History:

Details @& 31-1 12/05/2022 Claim #31 filed by Dime Community Bank, Amount claimed: $9565821.32 (Sullivan,
James)

Description:

Remarks:

Creditor: (10135817) Claim No: 32 Status:

CloudFund, LLC Original Filed Date: 12/06/2022 Filed by: CR

cio Kaminski Law, PLLC Original Entered Date: 12/06/2022 Entered by: admin

P.O. Box 247 Modified:

History:

Details @ 32-1 12/06/2022 Claim #32 filed by CloudFund, LLC, Amount claimed: $1371151.00 (admin)

Description:

Remarks: (32-1) Filer Comment: There is no interest rate associated with this transaction.

9 of 18 11/18/2024, 3:11 PM
Case 0-24-UoU0/1-ast DOC lo-le Filed ll/ly/e4 Entered li/ly/24 10159750
Live Database: nyeb_live https://ecf.nyeb.uscourts.gov/cgi- bin/SearchClaims, pl? 187630619...
Grass Lake, MI 49240
Amount claimed: $1371151.00
Secured claimed: $1371151.00
History:
Details @ 32-1 12/06/2022 Claim #32 filed by CloudFund, LLC, Amount claimed: $1371151.00 (admin)

Description:
Remarks: (32-1) Filer Comment: There is no interest rate associated with this transaction.

Creditor: (10152541) Claim No: 33 Status:

All County Crane & Rigging, LLC Original Filed Date: 02/01/2023 Filed by: CR

94 Bellport Ave Original Entered Date: 02/01/2023 Entered by: one
Yaphank, NY 11980 Modified:

Amount claimed: $7200.00

History:
Details @ 33-1 02/01/2023 Claim #33 filed by All County Crane & Rigging, LLC, Amount claimed: $7200.00 (one)
Description: (33-1) Unpaid for services rendered

Remarks:

Creditor: (10153334) Claim No: 34 Status:

Eastern Industrial Equipment Original Filed Date: 02/02/2023 Filed by: CR

194 Atlantic Avenue Original Entered Date: 02/02/2023 Entered by: ylr
Garden City Park, NY 11040 Modified:

Amount claimed: $5987.00
History:

Details @ 34-1 02/02/2023 Claim #34 filed by Eastern Industrial Equipment, Amount claimed: $5987.00 (yir)
Description:
Remarks:

Creditor: (10134919) Claim No: 35 Status:

Dierks Heating Company, Inc. Original Filed Date. 02/07/2023 Filed by: CR
c/o Leech Tishman Robinsen Brog, Original Entered Date: 02/07/2023 Entered by: admin
PLLC Modified:

875 Third Avenue, 9th Floor
New York, NY 10022

Amount claimed: $13238.04

History:

Detaig @ 35-1 02/07/2023 Claim #35 filed by Dierks Heating Company, Inc., Amount claimed: $13238.04 (admin)
Description:

Remarks:

Creditor: (10157462) Claim No: 36 Status:

Independent Temperature Control Original Filed Date. 02/17/2023 Filed by: CR

Services Original Entered Date: 02/17/2023 Entered by: Cooper J Macco

117-19 14th Road Modified:

College Point, NY 11356

History:

Details @ 36-1 02/17/2023 Claim #36 filed by Independent Temperature Control Services, Amount claimed:
$875000.00 (Macco, Cooper)

Description: (36-1) HS472Q Subcontracter Replacement Costs
Remarks:

10 of 18 11/18/2024, 3:11 PM
Case o-24-UoU0/1-ast DOC lo-le Filed ill/ly/e4 Entered Ll/ly/24 10159750
Live Database: nyeb_live https://ecf.nyeb.uscourts.gov/cgi-bin/SearchClaims.pl? 187630619...

Amount claimed: $875000.00

History:
Details @ 36-1 02/17/2023 Claim #36 filed by Independent Temperature Control Services, Amount claimed:
$875000,00 (Macco, Cooper)

Description: (36-1) HS472Q Subcontractor Replacement Costs

Remarks:

Creditor: (10165146) History Claim No: 37 Status:

Harry Brainum Jr., Inc. Original Filed Date: 03/08/2023 Filed by: CR
Shanker Law Group Original Entered Date: 03/09/2023 = Entered by: admin
101 Front Street Modified:

Mineola, NY 11501-4402
Amount claimed: $543426.00

History:

Details @ 37-1 03/09/2023 Claim #37 filed by Harry Brainum Jr, Inc., Amount claimed: $543426.00 (admin)
Description:
Remarks:
Creditor: (10165980} Claim No: 38 Status:
Debra Rabstejnek Original Filed Date. 03/13/2023 Filed by: CR

11 Franklin commons Original Entered Date: 03/13/2023 Entered by: admin
Yaphank, NY 11980-11 Modified:

Amount claimed: $7596.25
History:

Details @ 38-1 03/13/2023 Claim #38 filed by Debra Rabstejnek, Amount claimed: $7596.25 (admin)
Description:
Remarks:
Creditor: (10116813) Claim No: 39 Status:
NYS Dept. of Taxation & Finance Original Filed Date: 03/16/2023 Filed by: CR

Bankruptcy’ Special Procedures Section Original Entered Date: 03/16/2023 Entered by: David M Pugliese
PO Box 5300 Modified:

Albany, NY 12205-0300

Amount claimed: $23662,96
Priority claimed: $23662,96

History:

Details @ 39-1 03/16/2023 Claim #39 filed by NYS Dept. of Taxation & Finance, Amount claimed: $23662.96
(Pugliese, David)

Description: (39-1) period of administrative expense tax liability

Remarks:

Creditor: (10128528) Claim No: 41 Status:

Alta Material Handling Original Filed Date, 03/16/2023 Filed by: CR

845 South ist Street Original Entered Date: 03/16/2023 Entered by: admin
Ronkonkoma, NY 11779 Modified:

History:

Details @ 41-1 03/16/2023 Claim #41 filed by Alta Material Handling, Amount claimed: $19639.07 (admin)
Description:

Remarks: (41-1) Account Number (last 4 digits)'2535

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Live Database: nyeb_live

Amount claimed: $19839.07
History:

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hitps://ecf.nyeb.uscourts.gov/cgi-bin/SearchC laims.pl71876306 19...

Details @ 41-1 03/16/2023 Claim #41 filed by Alta Material Handling, Amount claimed: $19639.07 (admin)

Description:

Remarks, (41-1) Account Number (last 4 digits):2535

Creditor:
Erlin Steel
Shanker Law Group

101 Front Street
Mineola, NY 11501-4402

Amount claimed: $17285.80

(10168359)

History:

History

Claim No: 42
Oniginal Filed Date: 03/17/2023
Original Entered Date: 03/17/2023

Status:

Filed by: CR
Entered by: admin
Modified:

Detais @ 42-1 03/17/2023 Claim #42 filed by Erlin Steel, Amount claimed: $17285.80 (admin)

Description:
Remarks:

Creditor: (10172623)
Avanti Technologies LLC.
107 N. Country Rd.

Miller Place, NY 11764

Amount claimed: $22580.19

History:

Claim No: 43
Original Filed Date: 03/23/2023
Original Entered Date: 03/23/2023

Status:

Filed by: CR
Entered by: admin
Modified:

Details @ 43-1 03/23/2023 Claim #43 filed by Avanti Technologies LLC., Amount claimed: $22580.19 (admin)

Description:
Remarks:

Creditor: (10473172)
Oxford Health Plans
ATTN: CDM/Bankruptcy
185 Asylum Street- 03B
Hartford, CT 06103

Amount claimed: $4466.27
Priority claimed: $4466.27

History:

Claim No: 44
Original Filed Date: 03/24/2023
Original Entered Date: 03/24/2023

Status:

Filed by: CR
Entered by: ylr
Modified:

Details @ 44-1 03/24/2023 Claim #44 filed by Oxford Health Plans, Amount claimed: $4466.27 (ylr)

Description:
Remarks:

Creditor: (10178594)

U.S. Small Business Administration

Ciaim No: 45
Original Filed Date: 04/10/2023

Little Rock Commercial Loan Servicing Original Entered Date: 04/10/2023

History:

Description:

$1995482.38 (admin)

Remarks: (45-1) Account Number (last 4 digits):8209
(45-2) Account Number (last 4 digits):8209

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Status:
Filed by: CR
Entered by: admin

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Live Database: nyeb_live

Center
2120 Riverfront Drive, Ste. 100
Little Rock, AR 72202

Amount claimed: $1995482,38
Secured claimed: $1995482.38

History:

Last Amendment Filed: 04/10/2023
Last Amendment Entered: 04/10/2023

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https://ecf.nyeb.uscourts.gov/cgi-bin/SearchClaims. pl? 187630619...

Modified: 04/10/2023

Details @ 45-1 04/10/2023 Claim #45 filed by U.S. Small Business Administration, Amount claimed: $1995482.38

(admin)

Details @ 45-2 04/10/2023 Amended Claim #45 filed by U.S. Small Business Administration, Amount claimed:
$1995482.38 (admin)

Description:

Remarks: (45-1) Account Number (last 4 digits):8209
(45-2) Account Number (last 4 digits):8209

Craditor:
Cintas
PO Box 636525
Cincinnati, OH 45263

Amount claimed: $1772.98

(10128541)

History:

Claim No: 46 Status:

Original Filed Date: 04/7/2023 Filed by: CR

Original Entered Date. 04/17/2023 Entered by: admin
Modified:

Details @ 46-1 04/17/2023 Claim #46 filed by Cintas, Amount claimed: $1772.98 (admin)

Description:
Remarks:

Creditor:
Grassi & Co.
50 Jericho Quadrangle
Jericho, NY 11753

Amount claimed: $2927.50

(10128555)

History:

History

Claim No: 47 Status:

Original Filed Date: 04/24/2023 Filed by: CR

Original Entered Date: 04/24/2023 Entered by: admin
Modified:

Details @ 47-1 04/24/2023 Claim #47 filed by Grassi & Co., Amount claimed: $2927.50 (admin)

Description:

Remarks: (47-1) Account Number (last 4 digits): 1017

Creditor: (10134672)
Cellco Partnership d/b/a Verizon
Wireless

William M Vermette
22001 Loudoun County PKWY
Ashburn, VA 20147

Amount claimed: $8816.01
History:

Claim No: 48 Status.

Original Filed Date: 05/02/2023 Filed by: CR

Original Entered Date: 05/02/2023 Entered by: admin
Modified:

Details @ 48-1 05/02/2023 Claim #48 filed by Cellco Partnership d/b/a Verizon Wireless, Amount claimed: $8818.04

(admin)

Description:

Remarks: (48-1) Account Number (last 4 digits}:3906

Creditor: (10193447)
W. W. Grainger, Inc.

401 South Wright Rd.
Janesville, Wl 53546

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Claim No: 49 Status:

Original Filed Date: 05/16/2023 Filed by: CR

Original Entered Date: 05/16/2023 Entered by: admin
Modified:

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Live Database: nyeb_live

Amount claimed: $16986,73
Priority claimed: $13190.24

History:

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Details @ 49-1 05/16/2023 Claim #49 filed by W. W. Grainger, Inc., Amount claimed: $16986.73 (admin)

Description:
Remarks:

Creditor: (10193790)
IPFS Corporation

30 Montgomery Street
Suite 501

Claim No: 50

Original Filed Date: 05/17/2023
Original Entered Date. 05/17/2023
Last Amendment Filed: 02/12/2024

Status:

Filed by: CR

Entered by: Lisa R Chandler
Moditied:

Jersey City, NJ 07302 Last Amendment Entered: 02/12/2024

Amount claimed: $33467.45

History:
Details @ 80-1 05/17/2023 Claim #50 filed by IPFS Corporation, Amount claimed: $603909.34 (Chandler, Lisa)

Details @ 50-2 02/12/2024 Amended Claim #50 filed by IPFS Corporation, Amount claimed: $33467.45 (Chandler,
Lisa)

Description: (50-1) Amount due under premium finance agreement
{50-2} Amount due under premium finance agreement

Remarks:

Creditor: (10197086) Claim No: 51 Status:

Keyspan Gas East Corporation DBA Original Filed Date: 05/25/2023 Fifed by: GR
National Grid Original Entered Date: 05/25/2023 Entered by: admin
300 Erie Boulevard West Modified:

Syracuse, NY 13202
Amount claimed: $8124.10
History:

Details @ 81-1 05/25/2023 Claim #51 filed by Keyspan Gas East Corporation DBA National Grid, Amount claimed:
$8124.10 (admin)

Description:
Remarks:

Creditor: (10116810)

Internal Revenue Service

Centralized Insolvency Operations
PO Box 7346

Philadelphia, PA 19101-7346
Amount claimed: $565909.75
Secured claimed: $0.00

Priority claimed: $565909,75

Claim No: 52
Original Filed Date: 05/25/2023
Original Entered Date: 05/25/2023

Status:

Filed by: CR

Entered by: Lynn R Sexton
Modified:

History:
Details @ 52-1 05/25/2023 Claim #52 filed by Internal Revenue Service, Amount claimed: $565909,75 (Sexton,
Lynn)

Description:
Remarks:

Creditor: (10198050)
Cloudfund, LLC
Giuliano Law PC

Claim No: §3
Original Filed Date: 05/29/2023
Original Entered Date: 05/29/2023

Status:
Filed by: CR
Entered by: Anthony F, Giuliano

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Live Database: nyeb_live https://ecf, nyeb,uscourts.gov/cgi-bin/SearchClaims, pl?187630619...

Anthony Giuliano, Esq. Modified:
445 Broadhcllow Rd., Suite 25
Melville, NY 11747-3645

Amount claimed: $1371151.00
Secured claimed: $1371151.00
History:

Description: (53-1) Purchase and sale of percentage of future receipts

Remarks:

Creditor: (10198050) Claim No: 54 Status:

Cloudfund, LLC Original Filed Date: 05/29/2023 Filed by: CR

Giuliano Law PG Original Entered Date: 05/29/2023 Entered by: Anthony F. Giuliano
Anthony Giuliano, Esq. Modified:

445 Broadhollow Rd., Suite 25
Melville, NY 11747-3645

Amount claimed: $1371151.00
History:

Details @ 54-1 05/29/2023 Claim #54 filed by Cloudfund, LLC, Amount claimed: $1371151.00 (Giuliano, Anthony)
Description: (54-1) Purchase and sale of percentage of future receipts

Remarks:

Creditor: (10170029) Claim No: 55 Status:

Crum & Forster Indemnity Company Original Filed Date: 05/30/2023 Fifed by: CR

cio McElroy Deutsch Original Entered Date: 05/30/2023 Entered by: Gary David Bressler
Atin: Gary Bressler, Esq. Modified:

300 Delaware Ave, Suite 1014

Wilmington, DE 19801
Amount claimed: $94622,89
Secured claimed: $94622.89

History:

Detaiis @ 55-1 05/30/2023 Claim #55 filed by Crum & Forster Indemnity Company, Amount claimed: $94622.89
(Bressler, Gary)

Description: (55-1) Please see Addendum
Remarks: (55-1) Please see Addendum

Creditor: (10198304) Claim No: 56 Status:

Sheet Metal Workers Local 28 Pension Original Filed Date: 05/30/2023 Filed by: CR

Fund Original Entered Date: 05/30/2023 Entered by: Thomas P Keane
c/a 100 Crossways Park Drive West, Modified:

Suite

Ameunt claimed: $668063,00

History:
Details @ 456-1 05/30/2023 Claim #56 filed by Sheet Metal Workers Local 28 Pension Fund, Amount claimed:
$668063.00 (Keane, Thomas)

Description:

Remarks:

Creditor: (10198448) Claim No: 57 Status:

Kiroy Aisner & Curley LLP Original Filed Date: 05/30/2023 Filed by: CR

700 Post Road, Suite 237 Original Entered Date: 05/30/2023 Entered by: Dawn Kirby

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Live Database: nyeb_live
Scarsdale NY 10583
Amount claimed: $114509.09
History:

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https://ecf.nyeb.uscourts.gov/cgi- “bin/SearchClaims. pl?187630619...

Modified:

Description: (57-1) Chapter 11 Legal Fees/Costs 5-4-2022 to 2-10-2023
Remarks: (57-1) Subject to Fee Application & Bankruptcy Court Approval

Creditor: (10198452)

Meltzer Lippe Goldstein & Breitstone,

LLP

190 Willis Avenue

APT 301

Mineola, NY 11501-190
Amount claimed: $78835.91

Priority claimed: $78835.91
History:

Claim No: 58 Status:

Original Filed Date: 05/30/2023 Filed by: CR

Original Entered Date: 05/30/2023 Entered by: admin
Modified:

Details @ 58-1 05/30/2023 Claim #58 filed by Meltzer Lippe Goldstein & Breitstone, LLP, Amount claimed:
$78835.91 (admin)

Description:
Remarks:

Creditor:
James Dyorak
clo RMF PC, Attn: Adam Silvers
1425 RXR Plaza

East Tower, 15th Floor
Uniondale, NY 11556

No amounts claimed

(10204582)

History:

Description:

Claim No: 59 Sfatus:

Original Filed Date: 06/14/2023 Filed by: CR

Original Entered Date: 06/14/2023 Entered by: admin
Modified:

Remarks; (59-1) Filer Comment: See Rider

Creditor:
Douglas Belz
cio RMF PC, Attn: Adam Sivers
1425 RXR Plaza

East Tower 15th Floor
Uniondale, NY 11556

Amount claimed: $81033.26

(10204592)

History.

Description:
Remarks:

Creditor: (10204996)

History:
Details @ 61-1

Description:

Claim No: 60 Status:

Original Filed Date: 06/14/2023 Filed by: CR

Original Entered Date: 06/14/2023 Entered by: admin
Modified:

Claim No: 61 Status:

06/15/2023 Claim #61 filed by Stephen DiMeglio, Amount claimed: (admin)

Remarks: (61-1} Filer Comment: See Rider

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Live Database: nyeb_live https://ecf.nyeb.uscourts. goviogi-bin/SearchClaims. pl?187630619...
Stephen DiMeglio Original Filed Date: 06/15/2023 Filed by: CR
cio RMF PC, Attn: Adam Silvers Original Entered Date: 06/15/2023 Entered by: admin
1425 RXR Plaza Modified:

East Tower, 15th Floor
Uniondale, NY 11556

No amounts claimed
History:
Details @ 61-1 06/15/2023 Claim #61 filed by Stephen DiMegiio, Amount claimed: (admin)

Description:
Remarks: (61-1) Filer Comment: See Rider

Creditor: (10224063) Claim No: 62 Status:
U.S. Trustee Payment Center Original Filed Date: 08/04/2023 Filed by: CR
P.O, Box 6200-19 Original Entered Date: 08/04/2023 Entered by: Linda A Riffkin
Portland, OR 97228 Modified:
Amount claimed: $22360.00
History:
Details @ 62-1 08/04/2023 Claim #62 filed by U.S. Trustee Payment Center, Amount claimed: $22360.00 (Riffkin,
Linda}
Description: (62-1) fees under Chapter 123 of Title 28, United States Code
Remarks:
Creditor: (10309576) Claim No: 63 Status:
Masterman's LLP Original Filed Date: 02/27/2024 Filed by: CR
c/o Masterman's LLP Original Entered Date: 02/27/2024 Entered by: sxl
PO BOx 411 Modified:

Auburn MA 1501
Amount claimed: $860.32
History:
Details @ 63-1 02/27/2024 Claim #63 filed by Masterman's LLP, Amount claimed: $860.32 (sxl)

Description: (63-1) Goods Sold
Remarks:

Claims Register Summary

Case Name: Blue Diamond Air Systems, Inc.
Case Number: 8-22-72698-ast
Chapter: 7
Date Filed; 10/04/2022
Total Number Of Claims: 62

[Total Amount Claimed* 1$46477581 76 _
[Total Amount Allowed* | f
*Includes general unsecured claims

The values are reflective of the data entered. Always refer to claim documents for actual amounts.

Claimed [Allowed

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Live Database: nyeb live https://ecf.nyeb.uscourts,gov/cgi-bin/SearchClaims.pl? 187630619...

[Secured ($7035614.81 | |

(Priority ($5445823.62 | |

|Administrative)

PACER Service Center
| Transaction Receipt
| 11/18/2024 15:10:53
PACER Client
trust 1
Login: rusteeperg6 183 Code:
8-22-72698-ast Filed or
: . . Search :
Description: );Claims Register| |, Entered From: 1/1/1990 Filed
Criteria:
or Entered ‘To: 11/18/2024
Billable
7 Cost: 0.70
Pages:
Exempt

Exempt flag: /Exempt Exempt Court Order
AO Rtn ARN RS ane AEP ass erenasad Pores ecerree ane reason, Aa Aegnrt he Be

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